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                   BEATRICE A. LOPEZ

                                v.
       STATE FARM MUTUAL AUTOMOBILE
            INSURANCE COMPANY




             PETITION FOR REMOVAL
            UNDER 28 U.S.C. § 14441(B)



                          Exhibit “A"
                          Complaint


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